   3:24-cv-00906-JDA         Date Filed 08/30/24     Entry Number 36        Page 1 of 17




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION


American Civil Liberties Union             )         Case No. 3:24-cv-00906-JDA
Foundation of South Carolina,              )
                                           )
                            Plaintiff,     )
                                           )         OPINION AND ORDER
                    v.                     )
                                           )
Bryan Stirling, in his official capacity   )
as Executive Director of the South         )
Carolina Department of Corrections,        )
                                           )
                         Defendant.        )
                                           )


       This matter is before the Court on Plaintiff’s motion for preliminary injunction [Doc.

4], Defendant’s motion to dismiss [Doc. 20], and Plaintiff’s motion for expedited

consideration of preliminary injunction [Doc. 34]. On February 23, 2024, Plaintiff filed a

motion for preliminary injunction. [Doc. 4.] On April 2, 2024, Defendant filed a response

to Plaintiff’s motion for preliminary injunction and a motion to dismiss Plaintiff’s Complaint

for lack of standing and failure to state a claim. [Docs. 20; 21.] Plaintiff filed a reply in

support of its motion for preliminary injunction and a response to Defendant’s motion to

dismiss on April 16, 2024. [Docs. 26; 27.] Defendant filed a reply in support of his motion

to dismiss on April 23, 2024. [Doc. 30.] On August 13, 2024, Plaintiff filed a motion for

expedited consideration of preliminary injunction and notice of supplemental facts. [Doc.

34.] Defendant filed a response on August 23, 2024. [Doc. 35.] For the reasons below,

the Court grants the motion to dismiss, denies the motion for preliminary injunction, and

finds as moot the motion for expedited consideration.
   3:24-cv-00906-JDA        Date Filed 08/30/24      Entry Number 36        Page 2 of 17




                                      BACKGROUND

       Defendant is the Agency Director of the South Carolina Department of Corrections

(“SCDC”), who exercises final and ultimate authority over the construction and

enforcement of all SCDC policies. [Doc. 1 ¶ 7.] Plaintiff is a nonprofit organization whose

mission is “to protect and advance civil rights and civil liberties in South Carolina through

litigation, education, and advocacy.” [Id. ¶ 6.]

       In South Carolina, prisoner contact with members of the press is governed by

SCDC Policy GA-02.01, “Employee and Inmate Relations with News Media, Legislators,

and Others,” which provides as follows:

              REQUESTS FOR INTERVIEWS WITH INMATES: Personal
              contact interviews with any SCDC inmate, untried county
              safekeeper, or death row inmate by anyone will be prohibited.
              (NOTE: This prohibition does not apply to internal or external
              law enforcement, Agency officials, internal and external
              auditors, or legal professionals who may need to interview
              inmates for purposes of an investigation or pending legal
              action or to researchers approved pursuant to SCDC Policy/
              Procedure ADM-15.07, “Research Conducted Within the
              SCDC.”)

[Id. ¶ 12; Doc. 4-3 at 5.] Additionally, according to Plaintiff, SCDC has a “pattern and

practice of prohibiting incarcerated people from communicating with anyone who intends

to publish prisoner speech, either in person, by video, or by telephone” (collectively with

SCDC Policy GA-2.01, the “Policy”).        [Doc. 1 ¶¶ 13–14.]      However, prisoners are

permitted to write letters to the press. [Id. ¶ 14.] According to the Complaint, Defendant

has explained that the Policy is “rooted in victim’s rights” and a belief that “victims should

[not] have to see the person who harmed them or their family members on the evening

news.” [Id. ¶ 16 (internal quotation marks omitted).]




                                              2
   3:24-cv-00906-JDA        Date Filed 08/30/24     Entry Number 36        Page 3 of 17




       As an example of enforcement of the Policy, Plaintiff alleges that on August 8,

2023, SCDC learned that one of its prisoners—Richard (Alex) Murdaugh—had provided

personal information to his attorney during a legal call, and his attorney recorded the call

and later provided it to Fox Nation for inclusion in a docu-series. [Id. ¶¶ 18–19.] SCDC

determined that Murdaugh and his attorney violated the Policy, and as a result, revoked

Murdaugh’s tablet and phone privileges for a period of time and sent a letter to the

attorney advising that his actions were prohibited by the Policy and could jeopardize his

phone communications with his client in the future. [Id. ¶¶ 20–21.]

       Plaintiff seeks to record and publish interviews with two individuals in SCDC

custody: Sofia Cano and Marion Bowman Jr. (the “Planned Activities”). 1 [Id. ¶¶ 25–48.]

Cano is a transgender woman whose experience with transgender healthcare at SCDC

is the subject of another lawsuit in this Court and Plaintiff represents Cano in that case.

[Id. ¶¶ 32–34.] Plaintiff alleges that SCDC has “no legitimate penological interest in

preventing [Plaintiff] from publishing an article, letter, or podcast that shares the impact

of SCDC’s inhumane denial of treatment in Ms. Cano’s own words.” [Id. ¶ 39.] Bowman

is currently held on South Carolina’s death row, has exhausted his appeals and

postconviction claims, and is preparing to petition for executive clemency. [Id. ¶ 40.]

Plaintiff seeks to publish interviews with Bowman in podcast form “to increase political

pressure in favor of clemency, to shed light on the impropriety of capital punishment, and

to inform the public about the inhumane treatment endured by people incarcerated in




1 Plaintiff does not specifically allege an intent to record and publish an interview with

Cano, though this is generally stated in the Complaint. [Doc. 1 ¶ 39; see id. ¶¶ 3, 31.]
                                             3
   3:24-cv-00906-JDA        Date Filed 08/30/24     Entry Number 36       Page 4 of 17




SCDC.” [Id. ¶¶ 42–46.] Plaintiff alleges it has access to both inmates via telephone and

in-person visitation, and also has access to Bowman through video calls. [Id. ¶¶ 35, 44.]

       In its Complaint, Plaintiff alleges two causes of action under 42 U.S.C. § 1983—a

facial and an as-applied challenge to the Policy under the First Amendment—and

requests that the Court declare the Policy unconstitutional and enjoin enforcement of the

Policy in general and against Plaintiff for engaging in the Planned Activities. [Id. ¶¶ 49–

65.]

                                   APPLICABLE LAW

Rule 12(b)(1) Standard

       A challenge to standing “implicates this Court’s subject matter jurisdiction and is

governed by Rule 12(b)(1).” Crumbling v. Miyabi Murrells Inlet, LLC, 192 F. Supp. 3d

640, 643 (D.S.C. 2016).     Article III limits a federal court’s jurisdiction to cases and

controversies, and “[o]ne element of the case-or-controversy requirement is that plaintiffs

must establish that they have standing to sue.” Clapper v. Amnesty Int’l USA, 568 U.S.

398, 408 (2013) (internal quotation marks omitted). To possess Article III standing, a

“plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Additionally,

“[s]tanding is not dispensed in gross,” and instead, “a plaintiff must demonstrate standing

for each claim he seeks to press and for each form of relief that is sought.” Davis v. Fed.

Election Comm’n, 554 U.S. 724, 734 (2008) (internal quotation marks and citation

omitted).




                                            4
   3:24-cv-00906-JDA        Date Filed 08/30/24      Entry Number 36        Page 5 of 17




       “The party attempting to invoke federal jurisdiction bears the burden of establishing

standing.” Miller v. Brown, 462 F.3d 312, 316 (4th Cir. 2006). When ruling on a motion

to dismiss for lack of standing, a court “must accept as true all material allegations of the

complaint, and must construe the complaint in favor of the complaining party.” Warth v.

Seldin, 422 U.S. 490, 501 (1975). “Nevertheless, the party invoking the jurisdiction of the

court must include the necessary factual allegations in the pleading, or else the case must

be dismissed for lack of standing.” Bishop v. Bartlett, 575 F.3d 419, 424 (4th Cir. 2009).

“When a defendant raises standing as the basis for a motion under Rule 12(b)(1) . . . the

district court may consider evidence outside the pleadings without converting the

proceeding to one for summary judgment.” White Tail Park, Inc. v. Stroube, 413 F.3d

451, 459 (4th Cir. 2005) (internal quotation marks omitted). “A federal court is powerless

to create its own jurisdiction by embellishing otherwise deficient allegations of standing.”

Whitmore v. Arkansas, 495 U.S. 149, 155–56 (1990).

Rule 12(b)(6) Standard

       Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a claim should be

dismissed if it fails to state a claim upon which relief can be granted. When considering

a motion to dismiss, the court should “accept as true all well-pleaded allegations and

should view the complaint in a light most favorable to the plaintiff.” Mylan Lab’ys, Inc. v.

Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). However, the court “need not accept the legal

conclusions drawn from the facts” nor “accept as true unwarranted inferences,

unreasonable conclusions, or arguments.” E. Shore Mkts., Inc. v. J.D. Assocs. Ltd.

P’ship, 213 F.3d 175, 180 (4th Cir. 2000). Further, for purposes of a Rule 12(b)(6) motion,

a court may rely on only the complaint’s allegations and those documents attached as



                                             5
   3:24-cv-00906-JDA        Date Filed 08/30/24       Entry Number 36         Page 6 of 17




exhibits or incorporated by reference. See Simons v. Montgomery Cnty. Police Officers,

762 F.2d 30, 31–32 (4th Cir. 1985). If matters outside the pleadings are presented to and

not excluded by the court, the motion is treated as one for summary judgment under Rule

56 of the Federal Rules of Civil Procedure. Fed. R. Civ. P. 12(d).

       With respect to well pleaded allegations, the United States Supreme Court

explained the interplay between Rule 8(a) and Rule 12(b)(6) in Bell Atlantic Corp. v.

Twombly:

              Federal Rule of Civil Procedure 8(a)(2) requires only “a short
              and plain statement of the claim showing that the pleader is
              entitled to relief,” in order to “give the defendant fair notice of
              what the . . . claim is and the grounds upon which it rests.”
              While a complaint attacked by a Rule 12(b)(6) motion to
              dismiss does not need detailed factual allegations, a plaintiff’s
              obligation to provide the “grounds” of his “entitle[ment] to
              relief” requires more than labels and conclusions, and a
              formulaic recitation of the elements of a cause of action will
              not do. Factual allegations must be enough to raise a right to
              relief above the speculative level on the assumption that all
              the allegations in the complaint are true (even if doubtful in
              fact).

550 U.S. 544, 555 (2007) (footnote and citations omitted); see also 5 Charles Alan Wright

& Arthur R. Miller, Federal Practice and Procedure § 1216, at 235–36 (3d ed. 2004)

(“[T]he pleading must contain something more . . . than a bare averment that the pleader

wants compensation and is entitled to it or a statement of facts that merely creates a

suspicion that the pleader might have a legally cognizable right of action.”).

       “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a



                                              6
   3:24-cv-00906-JDA         Date Filed 08/30/24       Entry Number 36        Page 7 of 17




defendant has acted unlawfully.” Id. The plausibility standard reflects the threshold

requirement of Rule 8(a)(2)—the pleader must plead sufficient facts to show he is entitled

to relief, not merely facts consistent with the defendant’s liability. Twombly, 550 U.S. at

557; see also Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that are merely

consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” (internal quotation marks omitted)). Accordingly, the

plausibility standard requires a plaintiff to articulate facts that, when accepted as true,

demonstrate that the plaintiff has stated a claim that makes it plausible the plaintiff is

entitled to relief. Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009).

                                        DISCUSSION

        Defendant argues that Plaintiff’s Complaint should be dismissed for lack of subject

matter jurisdiction because the Complaint fails to plead that Plaintiff suffered a

particularized, traceable, and redressable injury such that it has standing and, even if it

has standing, the Complaint should be dismissed for failure to state a claim upon which

relief can be granted. [Doc. 20-1.] The Court first addresses Defendant’s arguments

regarding standing. See Garey v. James S. Farrin, P.C., 35 F.4th 917, 921 (4th Cir. 2022)

(“Because standing is a threshold jurisdictional question, we address it first.” (cleaned

up)).

Standing

        Defendant argues that Plaintiff lacks standing because the Complaint fails to plead

an injury in fact, fails to show that its alleged injury is traceable to Defendant, and fails to




                                               7
   3:24-cv-00906-JDA         Date Filed 08/30/24       Entry Number 36        Page 8 of 17




show that it is likely its injury will be redressed by a favorable decision. 2 [Doc. 20-1 at 6–

14.]

       Injury in Fact

       To establish the first element of standing, a plaintiff must show that it suffered an

injury in fact that is “concrete and particularized” and “actual or imminent.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992) (internal quotation marks omitted). The

Supreme Court of the United States has explained that standing requirements are

somewhat relaxed in First Amendment cases:

              Even where a First Amendment challenge could be brought
              by one actually engaged in protected activity, there is a
              possibility that, rather than risk punishment for his conduct in
              challenging the statute, he will refrain from engaging further in
              the protected activity. Society as a whole then would be the
              loser. Thus, when there is a danger of chilling free speech,
              the concern that constitutional adjudication be avoided
              whenever possible may be outweighed by society's interest in
              having the statute challenged.

Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 956 (1984). The leniency

of First Amendment standing manifests itself most commonly in the injury in fact analysis.

Cooksey v. Futrell, 721 F.3d 226, 235 (4th Cir. 2013).




2 Defendant also briefly argues that Plaintiff attempts to rest its claim to relief on the legal

rights or interests of third parties, which is prohibited in a standing analysis. [Doc. 20-1
at 7–9.] His basis for this assertion is the Complaint’s “repeated[] reference . . . to alleged
harm (or potential harm) to inmates or other third parties.” [Id. at 7.] In response, Plaintiff
contends that “[Defendant]’s argument confuses standing, which is established by the
challenged policy’s application to [Plaintiff]’s planned activities . . . with the merits of
[Plaintiff]’s overbreadth challenge, which requires an analysis of the rights of others,” and
claims that the Complaint’s references to third parties are for the purpose of establishing
its overbreadth claim. [Doc. 26 at 15–16 (emphasis omitted).] The Court agrees with
Plaintiff and does not find that Plaintiff lacks standing on this basis.
                                               8
   3:24-cv-00906-JDA         Date Filed 08/30/24       Entry Number 36         Page 9 of 17




       Defendant first argues that Plaintiff cannot show that it has suffered an injury in

fact that is concrete and particularized. [Doc. 20-1 at 10–12.] Specifically, Defendant

argues that Plaintiff’s alleged injury is not particularized because the Policy’s restrictions

apply equally to all members of the public, and that it is not concrete because Plaintiff has

not actually been prevented from having discussions with inmates nor has it alleged that

it has been threatened with consequences for publishing the inmates’ speech. [Id. at 10–

11.] Defendant further argues that Plaintiff’s “self censorship” does not constitute an

injury in fact, and that its alleged injury is not “objectively reasonable” under First

Amendment jurisprudence. [Id. at 11–12 (internal quotation marks omitted).]

       In response to Defendant’s motion, Plaintiff argues that the Policy causes it a

concrete, imminent, and particularized harm by chilling Plaintiff’s ability to engage in the

Planned Activities. [Doc. 26 at 8–9.] Plaintiff first notes that Defendant misconstrues the

meaning of “particularized”: “[A] particularized injury in one that affects the plaintiff in a

personal and individual way. . .. [T]hat a law or policy applies to many people—or even

all people—is no barrier to standing.” [Id. at 9 (cleaned up).] Plaintiff next argues that its

concrete injury lies not in its lack of access to its clients, but in the credible and imminent

threat of enforcement in relation to its First Amendment-protected activities—namely,

recording and publishing real-time interviews with its clients. [Id. at 10–12.] Finally,

Plaintiff asserts that its decision to self-censor is objectively reasonable because

“Plaintiff’s planned activities . . . plainly trigger a credible threat of enforcement under [the

Policy]” that affects Plaintiff’s clients and the organization itself. [Id. at 12–13.]

       The Court concludes that Plaintiff has sufficiently alleged an injury in fact. First,

the Court agrees with Plaintiff that it does not need to allege that the injury is unique, only



                                               9
  3:24-cv-00906-JDA          Date Filed 08/30/24      Entry Number 36         Page 10 of 17




that it “affect[s] the plaintiff in a personal and individual way,” to show that it is

particularized. Spokeo, 578 U.S. at 339 (internal quotation marks omitted). Plaintiff has

done so here by alleging that the Policy prohibits Plaintiff from engaging in specific,

planned, and protected First Amendment conduct, i.e., conducting, recording, and

publishing interviews with two inmate clients. The Court also concludes that Plaintiff has

alleged a concrete injury because its alleged injury is based on the credible threat of

enforcement in regard to its First Amendment-protected Planned Activities. See id. at

340 (“A ‘concrete injury’ must be ‘de facto’; that is, it must actually exist. . . . When we

have used the adjective ‘concrete,’ we have meant to convey the usually meaning of the

term—'real,’ and not ‘abstract.’”) (internal quotation marks omitted). 3

       Finally, as noted, “standing requirements are somewhat relaxed in First

Amendment cases,” as courts have recognized a special interest in allowing a statute to

be challenged when it chills free speech. Cooksey, 721 F.3d at 235. Consequently, a

plaintiff may bring a pre-enforcement challenge to a statute or regulation by showing that

it results in self-censorship. Id. Importantly however, the claimed chilling effect cannot

be based on “[s]ubjective or speculative accounts.” Benham v. City of Charlotte, 635 F.3d

129, 135 (4th Cir. 2011) (internal quotation marks omitted). Instead, “[a]ny chilling effect

must be objectively reasonable,” meaning “it is likely to deter a person of ordinary firmness

from the exercise of First Amendment rights.” Id (cleaned up).



3 Though Defendant does not explicitly argue that Plaintiff’s injury was not “actual or

imminent,” the Court notes that Plaintiff correctly contends it has sufficiently alleged an
“imminent” injury that satisfies the requirements of Article III. See Clemens v.
ExecuPharm Inc., 48 F.4th 146, 152 (3d Cir. 2022) (“That ‘actual or imminent’ is
disjunctive is critical: it indicates that a plaintiff need not wait until he or she has actually
sustained the feared harm in order to seek judicial redress, but can file suit when the risk
of harm becomes imminent.”).
                                               10
  3:24-cv-00906-JDA        Date Filed 08/30/24      Entry Number 36        Page 11 of 17




       Here, Plaintiff has sufficiently shown that the Policy has a non-speculative and

objectively reasonable chilling effect on its speech. On its face, the Policy prevents

Plaintiff from recording and publishing real-time interviews with its clients, which would

result in enforcement not only against Plaintiff’s clients but against Plaintiff itself. [See

Doc. 1 ¶¶ 3–4; see also Doc. 21 at 2–3 (acknowledging that recording and publishing

“personal contact interviews” with inmates is disallowed under the Policy).] Moreover, the

credible threat of punishment for violating the Policy is corroborated by Plaintiff’s

allegations that an attorney has already received a threatening letter (and his client has

received punishment) for engaging in similar conduct, and the fact that Defendant has not

“disavowed enforcement” if Plaintiff engages in similar conduct. [See Doc. 1 ¶¶ 18–21];

Kenny v. Wilson, 885 F.3d 280, 284 (4th Cir. 2018) (noting that “past enforcement against

the same conduct is good evidence that the threat of enforcement is not chimerical,” and

the “threat of prosecution is especially credible when defendants have not disavowed

enforcement if plaintiffs engage in similar conduct in the future” (internal quotation marks

omitted)). At this stage, the Court concludes that Plaintiff’s allegations are sufficient to

show that Plaintiff’s self-censorship is an objectively reasonable response to a credible

threat of enforcement, and that it has therefore established an injury in fact.

       Traceability and Redressability

       Defendant further argues that Plaintiff cannot show the other two elements of the

standing inquiry, traceability and redressability, because “Plaintiff’s avoidance of certain

actions [is] based on speculation as to future harm to third parties” and because Plaintiff’s

representatives have already interviewed the inmates in question. [Doc. 20-1 at 13–14.]

The Court finds these arguments unavailing. Traceability is satisfied where “a causal



                                             11
  3:24-cv-00906-JDA          Date Filed 08/30/24      Entry Number 36        Page 12 of 17




connection between the injury and the conduct complained of . . . is fairly traceable, and

not the result of the independent action of some third party not before the court.” Frank

Krasner Enters., Ltd. v. Montgomery Cnty., 401 F.3d 230, 234 (4th Cir. 2005) (emphasis

and internal quotation marks omitted). The redressability requirement is satisfied where

there is “a non-speculative likelihood that the injury would be redressed by a favorable

judicial decision.” Id.

          Here, the alleged injuries—chilling of speech—are caused directly by the Policy at

issue that is enforced by Defendant. Additionally, a favorable decision on Plaintiff’s behalf

would mean that Defendant would be enjoined from enforcing the Policy and/or the Policy

would be deemed unconstitutional. In that case, Plaintiff would find full redress, as it

would be permitted to record and publish real-time interviews with its clients who are

incarcerated. Thus, the Court concludes that Plaintiff has standing to challenge the

Policy.

Failure to State a Claim

          Defendant next argues that even if the Court concludes that Plaintiff has standing

to bring this action, Plaintiff has failed to state a claim upon which relief may be granted

under Rule 12(b)(6) of the Federal Rules of Civil Procedure. [Doc. 20-1 at 14–18.]

Specifically, Defendant argues that Plaintiff has not pled a constitutional right of access

to the information it seeks to publish, and cites three Supreme Court cases that he asserts

“uphold the discretion of prison officials to approve or deny physical entry into [a] facility.”

[Id. at 14–15 (internal quotation marks omitted)]; see Pell v. Procunier, 417 U.S. 817

(1974); Saxbe v. Wash. Post Co., 417 U.S. 843 (1974); Houchins v. KQED, Inc., 438 US.




                                              12
  3:24-cv-00906-JDA        Date Filed 08/30/24      Entry Number 36        Page 13 of 17




1 (1978). The Court agrees that Plaintiff has failed to state a claim upon which relief may

be granted.

       In Pell, the Supreme Court addressed a constitutional challenge to a California

Department of Corrections policy that prohibited media interviews with specific inmates.

417 U.S. at 819. After being denied access to three specific inmates for purposes of an

interview, three journalists and four inmates challenged the regulation. Id. at 819–20.

The Court rejected the journalist plaintiffs’ argument that denial of face-to-face interviews

was an “unconstitutional state interference with a free press” and held that “newsmen

have no constitutional right of access to prisons or their inmates beyond that afforded the

general public.” Id. at 833–34.

       In Saxbe, a companion case to Pell, a newspaper and one of its reporters

challenged the constitutionality of a regulation that prohibited personal interviews

between reporters and individually designated federal prison inmates. 417 U.S. at 844.

The Supreme Court held that any balancing of the First Amendment interests of the press

with the penological interests of the policy was unnecessary, concluding that “[t]he

proposition that the Constitution imposes upon government the affirmative duty to make

available to journalists sources of information not available to members of the public

generally . . . finds no support in the words of the Constitution or in any decision of this

court.” Id. at 849–50 (internal quotation marks omitted) (second alteration in original).

       Finally, in Houchins, media plaintiffs alleged that the First Amendment protected

their right to interview inmates and make sound recordings, films, and photographs for

publication and broadcasting by newspapers, radio, and television, asserting that

television coverage was the most effective way of informing the public of prison



                                             13
  3:24-cv-00906-JDA         Date Filed 08/30/24      Entry Number 36        Page 14 of 17




conditions. 438 U.S. at 3–4. The Court rejected this claim, holding that “[n]either the First

Amendment nor the Fourteenth Amendment mandates a right of access to government

information or sources of information within the government’s control,” and that “the media

have no special right of access to the [prison] different from or greater than that accorded

the public generally.” Id. at 15–16 (plurality opinion); id. at 16 (Stewart, J., concurring in

the judgment) (“The First and Fourteenth Amendments do not guarantee the public a right

of access to information generated or controlled by the government, nor do they

guarantee the press any basic right of access superior to that of the public generally.”).

       Based on these holdings, Defendant contends that “Pell, Saxbe, and Houchins

mandate the dismissal of the Plaintiff’s claims.” [Doc. 20-1 at 18.] Defendant further

argues that because, like in Pell and Houchins, alternative avenues of communication,

such as written interviews, are available to Plaintiff, there is no impermissible restriction

on its news gathering as a matter of law. [Id. at 17.]

       In response, Plaintiff attempts to distinguish Pell, Saxbe, and Houchins, arguing

that their holdings are relevant only to the press’s First Amendment right to access

inmates and prison facilities, not to counsel’s First Amendment right to record and publish

their incarcerated clients’ speech. [Doc. 26 at 19, 20–24.] Plaintiff maintains that it has

already obtained access to its clients who are incarcerated at SCDC—including Cano

and Bowman—but contends that the Policy unconstitutionally restricts it from recording

and publishing interviews with these individuals. [Id.] Plaintiff quotes ACLU of Illinois v.

Alvarez, 679 F.3d 583 (7th Cir. 2012), for the proposition that “[t]he act of making an audio

or audiovisual recording is necessarily included within the First Amendment’s guarantee




                                             14
    3:24-cv-00906-JDA       Date Filed 08/30/24      Entry Number 36        Page 15 of 17




of speech and press rights as a corollary of the right to disseminate the resulting

recording.”4 [Doc. 26 at 19 (internal quotation marks omitted) (alteration in original).]

       After reviewing the parties’ arguments, the Policy at issue, and the relevant case

law, the Court concludes that Plaintiff has failed to state a claim because it has no First

Amendment right to engage in the Planned Activities. The Court disagrees with Plaintiff’s

argument that its claims do not depend upon the existence of a right of access to Cano

and Bowman because it already has some access to them by virtue of the fact that they

are Plaintiff’s clients. In the Court’s view, the access Plaintiff already has is a red herring

here because mere access to meet with its clients and discuss their legal cases is not

what Plaintiff seeks in this case. Rather, it is apparent from the Complaint that what

Plaintiff seeks is a different type of access: access to SCDC inmates, including its clients,

for the purpose of recording interviews for publishing. 5

       Though this Court agrees with the Alvarez court that there is a general First

Amendment right to audio record speech in public, see Alvarez, 679 F.3d at 595 (“[T]he



4 In Alvarez, the ACLU of Illinois claimed a First Amendment right to record public officers

in public view, challenging an eavesdropping statute that made it a felony to audio record
“‘all or any part of any conversation’ unless all parties gave their consent.” Alvarez, 679
F.3d at 586. In analyzing the plaintiff’s motion for preliminary injunction, the court stated
that “[a]udio and audiovisual recording are media of expression . . . [that] are included
within the free speech and free press guaranty of the First and Fourteenth Amendments.”
Id. at 595. (internal quotation marks omitted). The court further noted, “[t]he right to
publish or broadcast an audio or audiovisual recording would be insecure, or largely
ineffective, if the antecedent act of making the recording is wholly unprotected.” Id.
5 It is unclear whether Plaintiff specifically challenges the Policy’s restriction on its
communication director Paul Bowers’ access to conduct and record media interviews or
on its attorneys’ access to record the interviews they conduct with their clients. [See
generally Doc. 1 ¶¶ 25–31, 44, 46.] However, this distinction is of no consequence here,
as the Policy’s prohibition on personal contact interviews applies equally to media
representatives and attorneys intending to record and publish prisoner speech.


                                              15
  3:24-cv-00906-JDA          Date Filed 08/30/24      Entry Number 36         Page 16 of 17




First Amendment limits the extent to which [a state] may restrict audio and audiovisual

recording of utterances that occur in public”), that is not the right Plaintiff seeks to exercise

here. Instead, it is clear that the relief Plaintiff actually seeks in its Complaint is access

to create such recordings for the purpose of later publication. Plaintiff’s right to record

and publish the speech is secondary—Plaintiff first needs access to information that is

within the government’s control. Pell, Saxbe, and Houchins make clear that not even the

media have a special right under the First Amendment to such access. See Pell, 417

U.S. at 834 (“The Constitution does not . . . require government to accord the press

special access to information not shared by members of the public generally.”); Houchins,

438 U.S. at 16 (Stewart, J., concurring in the judgment) (“The Constitution does no more

than assure the public and the press equal access once government has opened its

doors.”). Because Plaintiff has no constitutional entitlement to the access it demands,

Plaintiff fails to state a claim for which relief may be granted, and Plaintiff’s claims are

dismissed. 6



6 In addition to its as-applied challenge, Plaintiff also asserts a facial challenge, alleging

that the Policy is unconstitutional on its face because it is overbroad and “categorically
suppress[es] all prisoner speech in the media.” [Doc. 1 ¶¶ 49–60.] In its response to
Defendant’s motion to dismiss, Plaintiff’s only argument in support of its facial challenge
is that the Policy is overbroad because it is not justified by “security, order, and
rehabilitation” under Procunier v. Martinez, 416 U.S. 396, 413–14 (1974), and even if it
were predicated on an interest in security, order, and rehabilitation, it lacks the “close fit”
required by Martinez. [Doc. 26 at 17–19.] However, the Court concludes that it need not
reach the issues of which level of scrutiny applies and whether the Policy passes such
scrutiny, because the holdings of Pell, Saxbe, and Houchins also govern Plaintiff’s facial
challenge. Because there is no general First Amendment right of access to inmates,
Plaintiff cannot plead that the Policy violates the First Amendment on its face. See Smith
v. Plati, 258 F.3d 1167, 1178 (10th Cir. 2001) (concluding that the “well-settled” principle
that “there is no general First Amendment right of access to all sources of information
within governmental control . . . applies equally to both public and press”); Voter
Reference Found., LLC v. Torrez, No. CIV 22-0222 JB/KK, 2024 WL 1347204, at *147
(D.N.M. Mar. 29, 2024) (granting summary judgment to defendants on plaintiff’s
                                               16
  3:24-cv-00906-JDA        Date Filed 08/30/24     Entry Number 36      Page 17 of 17




                                     CONCLUSION

      Wherefore, based upon the foregoing, Defendant’s motion to dismiss [Doc. 20] is

GRANTED, Plaintiff’s motion for preliminary injunction [Doc. 4] is DENIED, and Plaintiff’s

motion to expedite consideration of preliminary injunction [Doc. 34] is FOUND AS MOOT.

      IT IS SO ORDERED.

                                                       s/ Jacquelyn D. Austin
                                                       United States District Judge
August 30, 2024
Columbia, South Carolina




overbreadth challenge because there was no general right to access the government
information at issue, and therefore the policy was “not overbroad because it [did] not
unconstitutionally proscribe any protected speech”). As a result, Plaintiff’s facial
challenge also fails to state a claim upon which relief may be granted.
                                           17
